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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                              FORT WORTH DIVISION

MYRA BROWN and ALEXANDER
TAYLOR,

                      Plaintiffs,

       v.                                             Civil Action No. 4:22-cv-00908-P
U.S. DEPARTMENT OF EDUCATION and
MIGUEL CARDONA, in his official capacity as
Secretary of Education,

                      Defendants.


                                    NOTICE OF APPEAL

       PLEASE TAKE NOTICE that all Defendants in this case hereby appeal to the United States

Court of Appeals for the Fifth Circuit from this Court’s November 10, 2022 Order (ECF No. 37) and

Final Judgment (ECF No. 38).
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Dated: November 10, 2022            Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on November 10, 2022, I electronically filed the foregoing with the Clerk

of the Court using the CM/ECF system, which will automatically serve a copy to all counsel of record.


                                        /s/ Cody T. Knapp
                                        CODY T. KNAPP




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